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     IT IS ORDERED as set forth below:



      Date: August 1, 2018
                                                      _________________________________

                                                                 Sage M. Sigler
                                                          U.S. Bankruptcy Court Judge

     ________________________________________________________________




                     IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION

 IN RE:                                     §       CHAPTER 11
                                            §
 AMERICAN UNDERWRITING                      §       Case No. 18-58406-SMS
 SERVICES, LLC,                             §
                                            §
         Debtor.                            §

 ORDER GRANTING THE EMERGENCY MOTION BY CHAPTER 11 TRUSTEE FOR
 AN ORDER CONVERTING THE CHAPTER 11 CASE OF THE DEBTOR TO A CASE
                       UNDER CHAPTER 7

         This matter came before the Court on the Emergency Motion by Chapter 11 Trustee for an

 Order Converting the Chapter 11 Case of the Debtor to a Case under Chapter 7 and Request for

 Expedited Hearing (the “Emergency Motion”) (Docket No. 97)1 filed by S. Gregory Hays,

 Chapter 11 Trustee (the “Trustee”) for the bankruptcy estate of American Underwriting Services,



 1
  Capitalized, but undefined, terms herein shall have the meaning ascribed to such terms in the
 Application.

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 LLC, Debtor (the “Debtor”) in the above captioned case (the “Case”) seeking the entry of an order

 (this "Order") converting this Case to a case under Chapter 7 of the Bankruptcy Court. On July

 27, 2018, this Court entered its Order Shortening Notice and Scheduling Emergency Hearing on

 Emergency Motion by Chapter 11 Trustee for an Order Converting the Chapter 11 Case of the

 Debtor to a Case under Chapter 7 and Request for Expedited Hearing (Docket No. 100) wherein

 the Court scheduled a hearing on the Emergency Motion for July 31, 2018 (the “Hearing”). This

 Court having reviewed and considered the Motion and argument of counsel at the Hearing and

 having found that the due and adequate notice of the Emergency Motion and the Hearing was

 provided under the circumstances of this Case, that no objections were asserted to the relief sought

 in the Emergency Motion at or prior to the Hearing and that good cause exists for the conversion

 of this Chapter 11 Case to a case under Chapter 7 of the Bankruptcy Code, it is

        ORDERED that the Emergency Motion is GRANTED; and it is

        FURTHER ORDERED, that this Case is hereby converted to a Case under Chapter 7 of

 the Bankruptcy Code effective July 27, 2018; and it is

        FURTHER ORDERED, that the United States Trustee is directed to appoint a Chapter 7

 Trustee for the Debtor.

                               ***END OF DOCUMENT***

 Prepared and Presented by:

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